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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO

HAROLD R. FEEZLE,                        ) Case No. 4:23-cv-00242
SUSAN E. SCHEUFELE and                   )
DAVID J. SCHEUFELE, on behalf of         ) NOTICE OF APPEARANCE
themselves and all others similarly      )
situated,                                ) JURY TRIAL DEMANDED
                                         )
                       Plaintiffs,       )
                                         )
              v.                         )
                                         )
NORFOLK SOUTHERN RAILWAY CO.             )
and NORFOLK SOUTHERN                     )
CORPORATION,                             )
                                         )
                       Defendants.       )


To:   Clerk of Court

      KINDLY enter the appearance of Scott D. Clements, of the law firm of Dickie, McCamey

& Chilcote, P.C., on behalf of Defendants, Norfolk Southern Railway Company and Norfolk

Southern Corporation.

                                               Respectfully submitted,

                                               DICKIE, McCAMEY & CHILCOTE, P.C.

                                               By: /s/Scott D. Clements
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                                                    Attorneys for Defendants,
                                                    Norfolk Southern Railway Company
                                                    and Norfolk Southern Corporation
       Case: 4:23-cv-00242-BYP Doc #: 10 Filed: 02/16/23 2 of 2. PageID #: 78




                                 CERTIFICATE OF SERVICE

        I hereby certify that on February 16, 2023, I filed the foregoing Notice of Appearance

with the Clerk using the CM/ECF System, which will send notification of such filing to the

following:

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                               Andrew J. Thompson, Esquire
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                                                  By: /s/Scott D. Clements
                                                      Scott D. Clements, Esquire

                                                       Attorneys for Defendants,
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                                                       and Norfolk Southern Corporation

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